         Case 1:21-cr-00175-TJK Document 617 Filed 01/02/23 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

               v.                                       Case No. 1:21-cr-175-TJK-2

JOSEPH BIGGS, et al.,
               Defendants.

     BIGGS, NORDEAN AND TARRIO MOTION TO JOIN PEZZOLA MOTION
    FOR SIX ADDITIONAL PEREMPTORY STRIKES TO OBTAIN A FAIR JURY

       Defendant Biggs respectfully moves this Court that he be permitted to join codefendant

Dominic Pezzola’s December 22, 2022 motion for six additional peremptory strikes (ECF

598). Defendants Nordean and Tarrio also join in Biggs’s motion for joinder. Jury selection

during the first week of this trial -- December 19 through 23, 2022 -- has shown so far that

meeting the standard of seating fair and impartial or “indifferent” jurors (see, Irvin v. Dowd, 366

U.S. 717, 722, (1961)) in the District of Columbia to hear and decide charges of seditious

conspiracy and obstruction of an official proceeding in this January 6-related trial of all five

Proud Boys will be problematic, to say the least. “Indifferent” has been difficult threshold for

much of the District of Columbia venire examined so far. Too many of the potential jurors

harbor deep-seated and ofttimes strident prejudices, dislike and even hatred of the Proud Boys

organization, and several jurors have been qualified to be seated over objections of most (and

usually all) defense counsel. That bias and prejudice of Proud Boys was apparent during the

first three days of voir dire (December 19-21) upon which Pezzola’s motion was based. It was

apparent as well on December 22 and the Court’s more abbreviated court day of December 23.

The media, too, has started to comment on the difficulty of seating a jury in the District of
         Case 1:21-cr-00175-TJK Document 617 Filed 01/02/23 Page 2 of 3




Columbia in this case. See R. Weiner & S. Hsu, “Seating jury of DC residents presents a

challenge in Proud Boys trial,“ THE WASHINGTON POST, Jan. 1, 2023. Moreover, the

prejudice would appear to present once again in the newer, additional juror questionnaires

recently provided to the parties. Therefore, for good cause shown, defendants Biggs, Nordean

and Tarrio ask to join in all respects Pezzola’s motion at ECF 598 to for six additional

peremptory strikes to be exercised by defense counsel to obtain a fair jury in this case.


                                             Respectfully submitted,

                                             COUNSEL FOR JOSEPH R. BIGGS

Dated: January 2, 2023                        By: /s/ J. Daniel Hull
                                              JOHN DANIEL HULL
                                              DC Bar No. 323006/California Bar No. 222862
                                              HULL MCGUIRE PC
                                              1420 N Street, N.W.
                                              Washington, D.C. 20005
                                              (202) 429-6520 office
                                              jdhull@hullmcguire.com

                                              NORM PATTIS
                                              CT Bar No. 0013
                                              PATTIS & SMITH, LLC
                                              383 Orange Street
                                              1st Floor
                                              New Haven, CT 06511
                                              (203) 393-3017
                                              npattis@pattisandsmith.com




                                                -2-
         Case 1:21-cr-00175-TJK Document 617 Filed 01/02/23 Page 3 of 3




                               CERTIFICATE OF SERVICE

      The undersigned certifies that on January 2, 2023 the foregoing Motion to Join ECF 598 as

served upon all counsel of record via the Electronic Case Filing (ECF) system.


                                            By: /s/ J. Daniel Hull
                                            JOHN DANIEL HULL
                                            DC Bar No. 323006/California Bar No. 222862
                                            HULL MCGUIRE PC
                                            1420 N Street, N.W.
                                            Washington, D.C. 20005
                                            (202) 429-6520
                                            jdhull@hullmcguire.com
